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 A.

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 OO




        Attorneys for CITY OF SAN JOSE and OFFICER
        MICHAEL PINA
 ON




                                          UNITED STATES DISTRICT COURT
                                       NORTHERN       DISTRICT OF CALIFORNIA
 20




                                                   “SAN JOSE DIVISION
=




        JESSICA DOMINGUEZ, INDIVIDUALLY                         Case Number:     5:18-cv-04826-BLF
|
  =




        AND AS GUARDIAN AD LITEM FOR
        JACOB DOMINGUEZ, JORDAN                                 DECLARATION       OF MICHAEL               PINA
es
  ND




         OO NH ES AND JALIYAH                                   IN SUPPORT OF DEFENDANTS’ MOTION
  WHO
FS




                        ,                                       FOR SUMMARY           JUDGMENT
                                   Plaintiffs,
  FR
FP




                                                                Date:          April 21, 2022
FP
  ON




                       Vv.                                      Time:          9:00 a.m.
                                                                Room:          Courtroom 3, 5" Floor
         CITY OF SAN JOSE, SAN JOSE POLICE                               "                 ,
SBS
  OO




         DEPARTMENT          and   DOE    POLICE                Judge:         Hon.    Beth       Labson   Freeman

         OFFICERS     1, 2 AND 3, and DOES,
SF
  WN




         inclusive,                                             Trial Date:    August 22, 2022
SF




                                   Defendants. -
FH
  O




               |, Michael Pina, declare:
  TD
NDB




              1.      | have personal knowledge of each of the facts set forth in this declaration
  HF
YM




        and can testify competently        thereto.
NYP
  NY




              2.      | am employed as a Sergeant with the San Jose Police Department (“SJPD”)
  WO
NY




        and have been an SJPD officer since 2006.                                             |
  BP
NM




              3.      On September 15, 2017, | was assigned to SUPD’s Covert Response Unit
  OO
DMB




        and was part of a group of officers attempting to apprehend subject Jacob Dominguez ona
  OO
NM




        felony warrant for armed robbery. Our group had information that the subject was armed.
PMO
  oN




               4.     | and other officers attempted to apprehend the subject at the corner of
PO




                                                 1
         DECLARATION OF MICHAEL PINA IN SUPPORT OF .                                   Case No. 5:18-cv-04826-BLF
         DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT                                                          4903683
               Case 5:18-cv-04826-BLF Document 55-2 Filed 03/17/22 Page 2 of 2




         Penitencia Creek and South White Roads in San Jose as he was seated in the vehicle he
  NDS




         was driving.

                5.           During the apprehension, in response to the subject’s actions, | fired my rifle
  DW




         at him. When | fired, | was facing the driver’s side door of the vehicle; the subject was
  KR




         sitting in the driver’s seat.
  ON




                6.           Following the shooting, | separated myself from other officers. | did that

         because I was aware that SJPD practice is for an officer involved in a shooting to isolate
  ODN




         himself until a formal interview about the incident is conducted.
               7.            At the scene, | provided so-called “public safety information” concerning how
  Oo




         many shots were fired and in what direction. Public safety questions were posed by a
  Go
=|




         sergeant. The sergeant did not ask, and | did not discuss, why | fired at the subject or
 S|
=|




         anything about the subject's actions before the shooting.
 SB
NY




                8.     ~     | then was transported to SJPD headquarters, where | was interviewed by a
WHO
SBS




         detective from SJPD’s Homicide Unit and a detective from the Santa Clara County District
BO
BR




         Attorney’s Office.                                                          .
AB
OF




               9.            Other than answering the “oublic safety questions,” | did not discuss the
Bo
 DO




         shooting incident with any police officer before being interviewed at SJPD headquarters.
   BO
DN




                 10.         | told the detectives who interviewed me at SJPD headquarters the following:
BS




         | ordered the subject to put his hands up; the subject did not initially comply; then the
OHO
 HS




         subject put his hands up; after having put his hands up, the subject stared at me and then
  CO
NDB




         quickly put his hands down and leaned down; the subject’s actions led me to believe the
|=
NY




         subject was retrieving a weapon: | fired my weapon at the subject.
 NY
ND




                 11.       | What | told the detectives was a true and accurate description of the
 WO
NYO




         subject's actions.
  FB
PN




                       | declare under penalty of perjury under the laws of the State of California that
 om
NM




         the foregoing       is true and correct and that this declaration was executed on March 14, 2022
  mo
NO




         in San José, California.
                                                                      ber Ph Mfr                      2120
   PhO
on




                                                                       SGT. MICHAEL        INA
NM




                                                  2
          DECLARATION OF MICHAEL PINA IN SUPPORT OF                                      Case No. 5:18-cv-04826-BLF
          DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT                                                           1903683
